                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
                       v.                              )      No. 11-4004-03-CR-C-FJG
                                                       )
LORENZO CARBAJAL PINA,                                 )
                                                       )
                               Defendant.              )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Lorenzo Carbajal Pina, by consent, appeared before the undersigned on June
28, 2011, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j),
and 28 U.S.C. § 636, and has entered a plea of guilty to Counts One and Six of the Superseding
Indictment filed on March 17, 2011. After cautioning and examining the defendant, under oath,
in accordance with the requirements of Rule 11, it was determined that the guilty plea was made
with full knowledge of the charges and the consequences of pleading guilty, was voluntary, and
that the offenses to which the defendant has plead guilty are supported by a factual basis for each
of the essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Lorenzo Carbajal Pina be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 28th day of June, 2011, at Jefferson City, Missouri.



                                                /s/   Matt J. Whitworth
                                                MATT J. WHITWORTH
                                                United States Magistrate Judge



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